                   IN THE UNITED ST ATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            SOUTHERN DIVISION
                                7:23-CV-897


IN RE:                                                )
                                                      )
CAMP LEJEUNE WATER LITIGATION                         )     TRACK 1 ORDER
                                                      )
This Document Relates to:                             )
Adam Davis v. United States, 7:23-CV-1474-FL          )
Allan Howard v. United States, 7:23-CV-490-FL         )
Andrew Bruggemann v. United States, 7:23-CV-567-M )
Andrew Przenkop v. United States, 7:23-CV-1435-M      )
Aubie Cooper v. United States, 7:23-CV-800-FL         )
Benjamin Santana II v. United States, 7:23-CV-1494-M )
Bert Gregory v. United States, 7:23-CV-1384-FL        )
Brainerd W. Daniels v. United States, 7:23-CV-1198-FL ~
Bruce Hill v. United States, 7:23-CV-28-M             )
Cary Algood v. United States, 7:23-CV-1534-BO         )
Charles F. Frazier v. United States, 7:23-CV-1484-M   )
Charles Nolan v. United States, 7:23-CV-1361-D        )
Cherie Bond v. United States, 7:23-CV-1373-FL         )
Clark Collins v. United States, 7:23-CV-1458-BO       )
Cometto Davis v. United States, 7:23-CV-43-BO         )
Cory Buckley v. United States, 7:23-CV-885-BO         )
Daniel McTiernan v. United States, 7:23-CV-535-BO     )
David Downs v. United States, 7:23-CV-1145-FL         )
David Fancher v. United States, 7:23-CV-275-M         )
David Gregory v. United States, 7:23-CV-1485-FL       )
David Hill v. United States, 7:23-CV-1511-M           ~
David Petrie v. United States, 7:23-CV-202-D          )
David Tomilson v. United States, 7:23-CV-63-BO        )
Dennis Monroe v. United States, 7:23-CV-276-D         )
Diane E. Stacy v. United States, 7:23-CV-1449-FL      )
Diane Rothchild v. United States, 7:23-CV-858-D       )
Dino Favors v. United States, 7:23-CV-362-M           )
Edgar Peterson IV v. United States, 7:23-CV-1576-M    )
Edward Raymond v. United States, 7:23-CV-546-BO       )
Ernest David Hunt v. United States, 7:23-CV-452-BO    )
Francis Carter v. United States, 7:23-CV-1565-M        )
Frank Mousser v. United States, 7:23-CV-667-D          )
Frank Vogt v. United States, 7:23-CV-1547-FL           ~
Gary Alan Motz v. United States, 7:23-CV-1499-D        )
Gary James Cooper v. United States, 7:23-CV-576-FL     )




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Gary McElhiney v. United States, 7:23-CV-1368-BO       )
Geoffrey A. Funk Sr. v. United States, 7:23-CV-1472-FL )
Harvey Gilchrist v. United States, 7:23-CV-1571-D      )
Jacqueline Tukes v. United States, 7:23-CV-1553-BO     )
James Boggess v. United States, 7:23-CV-242-BO         ~
James Harder v. United States, 7:23-CV-1542-D
James M. Herron v. United States, 7:23-CV-1011-FL      j
James Nichols v. United States, 7:23-CV-894-BO         )
Jefferson Criswell v. United States, 7:23-CV-1482-BO   )
Jeffrey Lemon v. United States, 7:23-CV-1551-BO        )
Jennie Brown v. United States, 7:23-CV-282-M           )
Jimmy Laramore v. United States, 7:23-CV-594-FL        )
John Guadagnino v. United States, 7:23-CV-1538-BO      )
John Kelly v. United States, 7:23-CV-286-FL            )
John Orue v. United States, 7:23-CV-277-BO             )
Jose Vidana v. United States, 7:23-CV-1575-M           )
Joseph Gleesing v. United States, 7:23-CV-1486-FL      )
Joseph M. Renye v. United States, 7:23-CV-1493-FL      )
Karen Marie Amsler v. United States, 7:23-CV-284-BO     j
Kenneth Means v. United States, 7:23-CV-1491-D         )
Kent Wilson v. United States, 7:23-CV-1563-M           )
Kevin Goss v. United States, 7:23-CV-368-FL            )
Lancee Flee v. United States, 7:23-CV-1529-BO          )
Larry Bailey v. United States, 7:23-CV-1506-M          )
Larry Cage v. United States, 7:23-CV-1508-D            )
Larry L. Wright v. United States, 7:23-CV-1020-BO      )
Larry Wayne Tucker v. United States, 7:23-CV-1577-M )
Lawrence Critelli v. United States, 7:23-CV-435-D      )
Linda Susan Tootle v. United States, 7:23-CV-1089-D    )
Magdalena Frost v. United States, 7:23-CV-1386-D       )
Mark Cagiano v. United States, 7:23-CV-569-BO           j
Martin Keimig v. United States, 7:23-CV-215-FL
Marvin Braxton v. United States, 7:23-CV-1568-FL        j
Mary Holmberg v. United States, 7:23-CV-1014-FL        )
Paul Puletz v. United States, 7:23-CV-197-BO           )
Peter Ehlen berger v. United States, 7:23-CV-195-M     )
Rachel Phillips v. United States, 7:23-CV-1383-D       )
Richard Grandchamp v. United States, 7:23-CV-804-M )
Richard Sparks v. United States, 7:23-CV-682-M         )
Robert Fiolek v. United States, 4:23-CV-62-BO          )
Robert Green v. United States, 7:23-CV-1510-D          )
Robert Kidd v. United States, 7:23-CV-1489-FL           )
Robert Welch v. United States, 7:23-CV-1503-FL          j
Ronald Berube v. United States, 7:23-CV-782-M
Ronald Paul Lind Jr. v. United States, 7:23-CV-1518-M   j
Ronald Watts v. United States, 7:23-CV-280-BO           )

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Scott Keller v. United States, 7:23-CV-1501-FL                   )
Sharon Baker v. United States, 7:23-CV-957-BO                    )
Shelly Larkins v. United States, 7:23-CV-96-BO                   )
Stephen Dunning v. United States, 7:23-CV-1364-FL                )
Stephen Lee Woods v. United States, 7:23-CV-1524-D               )
                                                                 )
Susan McBrine v. United States, 7:23-CV-532-M
                                                                 )
Terrance Shine v. United States, 7:23-CV-23-BO
                                                                 )
Terrence Cleary v. United States, 7:23-CV-1559-FL                )
Terry Dyer v. United States, 7:23-CV-357-D                       )
Terry Roofv. United States, 7:23-CV-1003-M                       )
Thomas A. Bosco v. United States, 7:23-CV-994-FL                 )
Thomas Doup v. United States, 7:23-CV-232-M                      )
Thomas Small v. United States, 7:23-CV-1496-D                    )
Thomas W. Lynch v. United States, 7:23-CV-1582-M                 )
Tom Ciotti v. United States, 7:23-CV-554-FL                      )
Vivian Connard v. United States, 7:23-CV-1557-M                  )
William Hamilton v. United States, 7:23-CV-742-BO                )
William Matis v. United States, 7:23-CV-767-M                    )
                                                                 )
William Smith v. United States, 7:23-CV-1528-BO
                                                                 )

           Pursuant to this court's inherent powers, the Federal Rules of Civil Procedure 1,

 16(c)(2)(L), 42(a)(3), and Case Management Order No. 2 [D .E. 23] A.iv.e, the court hereby enters

the Track 1 Order establishing deadlines and procedures for the Track 1 Discovery Pool. 1 See

Fed. R. Civ. P. 1, l6(c)(2)(L), 42(a)(3). The court accepts the United States ' Notice of Revised

Track 1 Discovery Plaintiffs Selection [D.E. 123]; these se lected plaintiffs will comprise the Track

 1 Discovery Pool (individually, "Track 1 Discovery Pool Plaintiff(s)").

A. Track 1 Discovery Schedule

     1.    The court lifts the stay on the cases in the Track 1 Discovery Pool.

     11.   Within 45 days of entry of this Order, each Track 1 Discovery Plaintiff shall submit a

           complete Discovery Pool Profile Form [D.E. 62-1].

     iii. Within 135 days of the date of thi s Order, the parties shall complete fact discovery for the




 1
  The Track I Illnesses include bladder cancer, kidney cancer, leukemia, Non-Hodgkin's lymphoma, and
 Parkinson's disease. See [D.E. 23] A.i.

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          Track 1 Discovery Pool. 2 Within 30 days of completion of fact discovery, Plaintiffs shall

          disclose their expert witnesses. See Fed. R. Civ. P. 26(a)(2)(B) & (C). Within 30 days of

          Plaintiffs' disclosure of their expert witnesses, Defendant shall disclose its expert

          witnesses. See id. Within 15 days of Defendant' s disclosure of their expert witnesses,

          Plaintiffs shall disclose their rebuttal expert witnesses. Within 45 days of Defendant's

          disclosure of its expert witnesses, expert discovery will close.

B. Track 1 Motion Practice

    1.    The parties shall file any dispositive motions within 30 days from the close of expert

          discovery. See Local Civ. R. 7.1.

C. Track 1 Alternative Dispute Resolution ("ADR")

    i.    At the appropriate time, the court and the Parties shall discuss procedures for Track I ADR.

D. Track 1 Trials

    1.    At the appropriate time, the court and the Parties shall discuss the selection of certain Track

          1 Discovery Plaintiffs for a Bellwether trial or trials. The Parties should be prepared to

          commence trials for the Track I Discovery Plaintiffs in 2024.

    11.   Each judge will be responsible for scheduling procedures for the actions assigned to that

          judge. Any decisions regarding discovery, trial procedures, selection, structure, timing, or

          any other issues made in individual Track I Discovery Pool Plaintiff dockets that are

          different from or contrary to the provisions of this Order shall supersede this Order.




2
 The court will address Defendant's remaining proposed amendments to Case Management Order No. 2,
see [D.E. 95], in a later order.
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 SO ORDERED. This ....L day of February, 2024.



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 RICHARD E. MYERS II                             ~YLE¥
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 Chief United States District Judge              United States District Judge

{)(,..;, ;oJ./. ~
 LOUISE W. FLANAGAN
 United States District Judge                    United States District Judge




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